                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

HERIBERTO RODRIGUEZ ROSA,                         )
         Petitioner,                              )
                                                  )
                v.                                )       Civil Action No. 19-11984-MBB
                                                  )
STEPHEN SPAULDING,                                )
          Respondent.                             )

                                    PROCEDURAL ORDER

       Petitioner, who is confined at FMC Devens, has submitted for filing a petition for writ of
habeas corpus.

        A party filing a habeas action in this Court must either (1) pay the $5.00 filing fee for
habeas corpus actions; or (2) seek leave to proceed without prepayment of the filing fee. See 28
U.S.C. § 1914(a) (fees); 28 U.S.C. § 1915 (proceedings in forma pauperis). The motion for
leave to proceed without prepayment of the filing fee must be accompanied by “a certificate
from the warden or other appropriate officer of the place of confinement showing the amount of
money or securities that the petitioner has in any account in the institution.” Rule 3(a)(2) of the
Rules Governing Section 2254 Cases. 1

       Because petitioner has not submitted a filing fee or moved for leave to proceed in forma
pauperis, he shall be granted additional time to do so.

        Accordingly, if petitioner wishes to proceed with this action, no later than Thursday,
October 10, 2019, he must either (1) pay the $5.00 filing fee; or (2) file a motion for leave to
proceed in forma pauperis accompanied by a certified prison account statement. Failure of
petitioner to comply with this directive may result in the dismissal of this action without
prejudice.

        For the convenience of litigants, this Court provides a form application to seek leave to
proceed in forma pauperis. The Clerk shall provide petitioner with an Application to Proceed in
District Court Without Prepaying Fees or Costs.

       SO ORDERED.

                                                      /s/ Marianne B. Bowler
DATE: 9/19/19                                         UNITED STATES MAGISTRATE JUDGE


1
 The rules governing petitions brought pursuant to 28 U.S.C. § 2254 cases may be applied at the
discretion of the district court to other habeas petitions. See Rule 1(b) of the Rules Governing
Section 2254 Cases.
